     Case 3:15-cr-02994-BEN   Document 24    Filed 11/12/15   PageID.40    Page 1 of 1



                      UNITED STATES DISTRICT COUR~--------------I
                                                      I!'"' r,                ~,   ~'7"
                                                      \'- ~'   , ..


                                                                    ---
                                                                                   '

                    SOUTHERN DISTRICT OF              P I ~ "","                    >"    '




UNITED STATES OF AMERICA,                   CASE NO. 15CR299
                                                                 _B1 ~OV_l......,c~~~         ....

                      Plaintiff,
              vs.                           JUDGMENT OF DISMISSAL
ISEMENA DIAZ-EZQUIVEL (2),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__x__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Information:

     21:952 and 960 - Importation of Methamphetamine; 18:2 - Aiding and
     Abetting


     IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 11/12/15
                                            Davld H. B rtlc
                                            U.S. Magistrate Judge
